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                           UNITED STATES DISTRICT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA               )
                                       )
v.                                     )      Case No. 1:21-cr-00040-TNM
                                       )
DAVID MEHAFFIE,                        )
                                       )
      Defendant.                       )


                           WAIVER OF APPEARANCE

      The Defendant DAVID MEHAFFIE, pursuant to Rules 10 & 43 of the Federal

Rules of Criminal Procedure, waives his rights to appear at the December 17, 2021,

status conference on the Fifth Superseding Indictment.


      Mr. Mehaffie has received a copy of the Fifth Superseding Indictment and

reviewed it with counsel. He understands the general nature of the charges alleged

therein including the maximum possible penalties.


      Mr. Mehaffie enters a plea of not guilty as to each count against him in the Fift

Superseding Indictment and requests a jury trial on all counts.


      Mr. Mehaffie has discussed with counsel his rights to be present for the status

conference and arraignment, and as indicated by his signature below, Mr. Mehaffie

waives his right to be present in Court for that purpose.



                          <<<SIGNATURE NEXT PAGE>>>
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          Case 1:21-cr-00040-TNM Document 183 Filed 12/14/21 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, December 14, 2021, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.



                                                  /s/ John M. Pierce
                                            John M. Pierce
